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                                                       Daniel Szalkiewicz       FiledP.C.12/09/22
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                                                                                                             Disclosures



                                                                                             Daniel Szalkiewicz <daniel@lawdss.com>



 Re: Initial Disclosures
 1 message

 Daniel Szalkiewicz <daniel@lawdss.com>                                                                        Fri, Nov 11, 2022 at 2:25 PM
 To: Ira W Heller <iwhelleresq@gmail.com>

    Ira,

    Attached is a copy of the court order that was issued yesterday.

    Very Truly Yours,

    Daniel S. Szalkiewicz, Esq.

    Daniel Szalkiewicz & Associates, P.C.
    23 West 73rd Street, Suite 102
    New York, New York 10023
    Tel: (212) 706-1007
    Direct Dial: (212) 760-1007
    Cell: (929) 373-2735
    Fax: (646) 849-0033


    On Thu, Nov 10, 2022 at 4:12 PM Ira W Heller <iwhelleresq@gmail.com> wrote:
     So submission is delayed as well?




      Ira W. Heller, Esq.
      Tel: 908-275-8626
      Fax: 908-349-3005
      1317 Morris Avenue
      Union, NJ 07083
      iwhelleresq@gmail.com

      This communication may contain privileged and/or confidential information. It is intended solely for the use of the
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      using any of this information. If you receive this communication in error, please contact the sender immediately and
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      which you are receiving the information.

      Rule of Evidence 408 Applicability: This communication may contain a settlement offer and/or information
      presented as part of settlement discussions. Such information and offers are subject to the restrictions of FRE and
      NJRE 408 and may not be used for any purpose.

      Reservation of All Rights and Defenses: Unless specifically set forth to the contrary nothing herein may be
      interpreted as an admission and/or waiver of any rights or defenses, all of which are preserved.

      IRS CIRCULAR 230 COMPLIANCE: To ensure compliance with the requirements imposed by the IRS in Circular
      230 effective June 21, 2005, we inform you that any U.S. federal tax advice contained in this communication
      (including any attachments) is not intended or written to be used, and cannot be used, for the purpose of (i) avoiding
      penalties under the Internal Revenue Code or (ii) promoting, marketing or recommending to another party any
      transaction or matter addressed herein.


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      On Thu, Nov 10, 2022 at 4:10 PM Daniel Szalkiewicz <daniel@lawdss.com> wrote:
       Yes, there was a court appearance this morning that we needed to be on. The judge has scheduled an in person
       appearance for December 21 at 1:30.

         On Thu, Nov 10, 2022 at 3:39 PM Ira W Heller <iwhelleresq@gmail.com> wrote:
          Attached is my redlined copy, and 2nd copy with changes accepted.

            Is your version already filed with the Court?




            Ira W. Heller, Esq.
            Tel: 908-275-8626
            Fax: 908-349-3005
            1317 Morris Avenue
            Union, NJ 07083
            iwhelleresq@gmail.com

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            addressee. If you are not the intended recipient, you are strictly prohibited from disclosing, copying, distributing
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            communication (including any attachments) is not intended or written to be used, and cannot be used, for the
            purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting, marketing or recommending
            to another party any transaction or matter addressed herein.




            On Thu, Nov 10, 2022 at 3:25 PM Daniel Szalkiewicz <daniel@lawdss.com> wrote:
             The court appearance was today already.

              On Thu, Nov 10, 2022 at 1:54 PM Ira Heller <iwhelleresq@gmail.com> wrote:
               Hi Daniel, working on it now

                 IRA HELLER LAW, LLC
                 Ira W. Heller, Esq.
                 1317 Morris Avenue
                 Union, NJ 07083
                 908-275-8626
                 Fax 908-349-3005




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                                                                                                             Disclosures
                         On Nov 10, 2022, at 8:53 AM, Daniel Szalkiewicz <daniel@lawdss.com> wrote:


                         ﻿
                         Please see attached.

                         Very Truly Yours,

                         Daniel S. Szalkiewicz, Esq.

                         Daniel Szalkiewicz & Associates, P.C.
                         23 West 73rd Street, Suite 102
                         New York, New York 10023
                         Tel: (212) 706-1007
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              Daniel S. Szalkiewicz, Esq.

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